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LANDLORD CONSENT TO SUBLEASE

THIS LANDLORD CONSENT TO SUBLEASE (“Consent Agreement’) is entered into
f2°/7 , 2016, by and among BRE RIVER NORTH POINT OWNER LLC, a

Delaware limited liability company (‘Landlord’), ROCKET FUEL INC., a Delaware
corporation (“Sublandlord”), and NITEL, INC., an Illinois corporation (“Subtenant’).

RECITALS:

Landlord (as successor in interest to SRI Ten West Mart LLC, a Delaware limited liability
company), as landlord, and Sublandlord, as tenant, are parties to that certain Office
Lease dated February 19, 2014 (“Original Lease’), which Original Lease has been
previously amended by that certain First Amendment to Lease dated April 4, 2014, by
that certain Second Amendment dated June 21, 2016 and by that certain Third
Amendment (the “Third Amendment’) dated as of even date herewith (collectively, the
“Existing Lease”). Pursuant to the Existing Lease, Landlord has leased to Sublandlord
certain premises containing approximately 44,590 rentable square feet (the “Premises’)
comprised of approximately (i) 32,115 rentable square feet known as Suite No. 1300N
located on the 13" floor, and (ii) 12,475 rentable square feet Known as Suite No. 1350N
located on the 13" floor of the building commonly known as River North Point located at
350 North Orleans Street, Chicago, Illinois 60654 (the “Building’).

Sublandlord and Subtenant have entered into that certain sublease agreement dated
November __ [sic], 2016 attached hereto as Exhibit A (the “Sublease”) pursuant to
which Sublandlord has agreed to sublease to Subtenant certain premises described as
follows: approximately 32,115 rentable square feet known as Suite No. 1300N located on
the 13" floor of the Building (the “Sublet Premises”) constituting a part of the Premises.

Sublandlord and Subtenant have requested Landlord’s consent to the Sublease.

Landlord is willing to agree to give such consent upon the terms and conditions
contained in this Consent Agreement.

NOW THEREFORE, in consideration of the foregoing recitals which by this reference

are incorporated herein and other good and valuable consideration, the receipt and sufficiency
of which are hereby acknowledged, Landlord hereby consents to the Sublease subject to the
following terms and conditions, all of which are hereby acknowledged and agreed to by
Sublandlord and Subtenant:

1.

Sublease Agreement and Master Lease. Sublandiord and Subtenant hereby represent
that a true and complete copy of the Sublease is attached hereto and made a part
hereof as Exhibit A, and Sublandlord and Subtenant agree that the Sublease shall not
be modified without Landlord’s prior written consent, which consent shall not be
unreasonably withheld. Notwithstanding anything to the contrary contained in the
Sublease, all parties agree that the “Master Lease”, as defined in the Sublease, shall be
deemed to mean the Lease, as described in Recital A above. Landlord agrees that its
obligation to pay for relocation costs of Tenant pursuant to the Third Amendment shall
include such relocation costs of both Tenant and Subtenant.

Representations. Sublandlord hereby represents and warrants that Sublandlord (i) has
full power and authority to sublease the Sublet Premises to Subtenant, (ii) has not
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transferred or conveyed its interest in the Lease to any person or entity collaterally or
otherwise, and (iii) has full power and authority to enter into the Sublease and this
Consent Agreement. Subtenant hereby represents and warrants that Subtenant has full
power and authority to enter into the Sublease and this Consent Agreement.

2. Indemnity and Insurance. Subtenant hereby assumes, with respect to Landlord, all of
the indemnity and insurance obligations of the Sublandlord under the Lease with respect
to the Sublet Premises, provided that the foregoing shall not be construed as relieving or
releasing Sublandlord from any such obligations.

3. No Release. Nothing contained in the Sublease or this Consent Agreement shall be
construed as relieving or releasing Sublandlord from any of its obligations under the
Lease, it being expressly understood and agreed that Sublandlord shall remain liable for
such obligations notwithstanding anything contained in the Sublease or this Consent
Agreement or any subsequent assignment(s), sublease(s) or transfer(s) of the interest of
the tenant under the Lease. Sublandlord shall be responsible for the collection of all rent
due it from Subtenant, and for the performance of all the other terms and conditions of
the Sublease, it being understood that Landlord is not a party to the Sublease and,
notwithstanding anything to the contrary contained in the Sublease, is not bound by any
terms, provisions, representations or warranties contained in the Sublease and is not
obligated to Sublandlord or Subtenant for any of the duties and obligations contained

therein.
4. Processing Costs. Landlord hereby waives the Processing Costs described in

Section 13.b. of the Original Lease payable by Sublandlord in connection with this
Consent Agreement and the related Sublease. This waiver in no manner shall be
deemed to apply to any subsequent transfers unless such waiver is specifically agreed
to by Landlord in writing at the time of such subsequent transfer.

D No Transfer. Subtenant shall not further sublease the Sublet Premises, assign its
interest as the Subtenant under the Sublease or otherwise transfer its interest in the
Sublet Premises or the Sublease to any person or entity without the written consent of
Landlord, which Landlord may shall not unreasonably withhold, except that Landlord's
consent may be withheld in Landlord’s sole and absolute discretion if the proposed
assignment or subletting would result in more than 3 subleases or sub-subleases being
in effect with respect to the Premises or any portion thereof at any given time (assuming
for such purposes that all renewal or extension options under all subleases will be
exercised). Subtenant agrees to comply with all of the provisions of the Lease, and
Landlord may enforce the Lease provisions directly against Subtenant. Subtenant
agrees to be and remain jointly and severally liable with Sublandlord for the payment of
rent pertaining to the Sublet Premises in the amount set forth in the Sublease, and for
the performance of all of the terms and provisions of the Lease applicable to the Sublet
Premises.

6; Lease. The parties agree that the Sublease is subject and subordinate to the terms of
the Lease, and all terms of the Lease, other than Sublandlord’s obligation to pay Monthly
Rent, are incorporated into the Sublease. In no event shall the Sublease or this Consent
Agreement be construed as granting or conferring upon the Sublandlord or the
Subtenant any greater rights than those contained in the Lease nor shall there be any
diminution of the rights and privileges of the Landlord under the Lease, nor shall the
Lease be deemed modified in any respect. Without limiting the scope of the preceding

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sentence, any construction or alterations performed in or to the Sublet Premises shall be
performed with Landlord's prior written approval and in accordance with the terms and
conditions of the Lease. It is hereby acknowledged and agreed that any provisions in
the Sublease which limit the manner in which Sublandlord may amend the Lease are
binding only upon Sublandlord and Subtenant as between such parties. Landlord shall
not be bound in any manner by such provisions and may rely upon Sublandlord’s
execution of any agreements amending or terminating the Lease subsequent to the date
hereof notwithstanding any contrary provisions in the Sublease. Neither the Lease, or
the Sublease or this Consent Agreement shall be deemed, to grant the Subtenant any
rights whatsoever against Landlord. Subtenant hereby acknowledges and agrees that
its sole remedy for any alleged or actual breach of its rights in connection with the Sublet
Premises shall be solely against Sublandlord.

7. Parking and Services. Any parking rights granted to Subtenant pursuant to the Sublease
shall be satisfied out of the parking rights, if any, granted to Sublandiord under the
Lease. Sublandlord hereby authorizes Subtenant, as agent for Sublandlord, to obtain
services and materials for or related to the Sublet Premises, and Sublandlord agrees to
pay for such services and materials as additional Rent under the Lease upon written
demand from Landlord. However, as a convenience to Sublandlord, Landlord may bill
Subtenant directly for such services and materials, or any portion thereof, in which event
Subtenant shall pay for the services and materials so billed upon written demand,
provided that such billing shall not relieve Sublandlord from its primary obligation to pay
for such services and materials.

8. Attornment. If the Lease or Sublandlord’s right to possession thereunder terminates for
any reason prior to the expiration of the Sublease, Subtenant agrees, at the written
election of Landlord, to attorn to Landlord upon the then executory terms and conditions
of the Sublease for the remainder of the term of the Sublease. In the event of any such
election by Landlord, Landlord will not be (a) liable for any rent paid by Subtenant to
Sublandlord more than one month in advance, or any security deposit or letter of credit
paid by or delivered by Subtenant to Sublandlord, unless same has been transferred to
Landlord by Sublandlord; (b) liable for any act or omission of Sublandlord under the
Lease, Sublease or any other agreement between Sublandlord and Subtenant or for any
default of Sublandlord under any such documents which occurred prior to the effective
date of the attornment: (c) subject to any defenses or offsets that Subtenant may have
against Sublandlord which arose prior to the effective date of the attornment; (d) bound
by any changes or modifications made to the Sublease without the written consent of
Landlord, (e) obligated in any manner with respect to the transfer, delivery, use or
condition of any furniture, equipment or other personal property in the Sublet Premises
which Sublandlord agreed would be transferred to Subtenant or which Sublandlord
agreed could be used by the Subtenant during the term of the Sublease, or (f) liable for
the payment of any improvement allowance, or any other payment, credit, offset or
amount due from Sublandlord to Subtenant under the Sublease. If Landlord does not
elect to have Subtenant attorn to Landlord as described above, the Sublease and all
rights of Subtenant in the Sublet Premises shall terminate upon the date of termination
of the Lease or Sublandlord’s right to possession thereunder. The terms of this
Section 9 supercede any contrary provisions in the Sublease.

9. Payments Under the Sublease. If at any time Sublandlord is in default under the terms
of the Lease beyond the expiration of any applicable notice and cure periods, Landlord
shall have the right to contact Subtenant and require Subtenant to pay all rent due under

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the Sublease directly to Landlord until such time as Sublandlord has cured such default.
Subtenant agrees to pay such sums directly to Landlord if requested by Landlord, and
Sublandlord agrees that any such sums paid by Subtenant shall be deemed applied
against any sums owed by Subtenant under the Sublease. Any such sums received by
Landlord from Subtenant shall be received by Landlord on behalf of Sublandlord and
shall be applied by Landlord to any sums past due under the Lease, in such order of
priority as required under the Lease or, if the Lease is silent in such regard, then in such
order of priority as Landlord deems appropriate. The receipt of such funds by Landlord
shall in no manner be deemed to create a direct lease or sublease between Landlord
and Subtenant. If Subtenant fails to deliver its Sublease payments directly to Landlord
as required herein following receipt of written notice from Landlord as described above,
then Landlord shall have the right to remove any signage of Subtenant, at Subtenant's
cost, located outside the Premises or in the Building lobby or elsewhere in the Building
and to pursue any other rights or remedies available to Landlord at law or in equity.

10. Excess Rent. If Landlord is entitled to any excess rent (defined below) from Sublandlord
pursuant to the terms of the Lease, then, in addition to all rent otherwise payable by
Sublandlord to Landlord under the Lease, Sublandlord shall also pay to Landlord the
portion of the excess rent to which Landlord is entitled under the Lease, in the manner
described in the Lease. As used herein, the “excess rent” shall be deemed to mean any
payments from Subtenant under the Sublease which exceed the payments payable by
Sublandlord to Landlord under the Lease for the Sublet Premises. Landlord's failure to
bill Sublandlord for, or to otherwise collect, such sums shall in no manner be deemed a
waiver by Landlord of its right to collect such sums in accordance with the Lease.

11. Compliance with Executive Order 13224. Sublandlord and Subtenant each, respectively,
hereby represents, warrants, and covenants to Landlord throughout the term of the
Sublease as follows: that (i) it is not, and is not acting for the benefit of, a person or entity
blocked pursuant to Executive Order 13224 signed on September 24, 2001 and entitled
"Blocking Property and Prohibiting Transactions with Persons Who Commit, Threaten to
Commit, or Support Terrorism" or under any rules or regulations promulgated thereunder
(collectively, the "Executive Order") and (ii) it does not have any interest in any property
blocked by the Executive Order. In the event that Sublandlord breaches its
representations, warranties, or covenants made to Landlord in this Section, Landlord shall
have all rights and remedies available to it under the Lease and all other rights and
remedies available at law and in equity, including but not limited to forcible eviction, and, in
the event that Subtenant breaches its representations, warranties, or covenants to
Landlord made in this Section, Sublandlord and Subtenant agree that, upon Landlord's
demand, the Sublease shall be immediately terminated, whereupon Sublandlord shall
cause Subtenant to vacate the Sublet Premises and Sublandlord shall exercise, as
necessary, all rights and remedies under the Sublease, and at law and in equity, including
but not limited to forcible eviction. Sublandlord and Subtenant each hereby agrees to
defend, indemnify and hold harmless Landlord from and against any and all claims,
damages, losses, risks, liabilities, fines, penalties, forfeitures and expenses (including
costs and attorneys’ fees) arising from or related to any breach on its part of the foregoing
obligations under this Section.

12. Notice Addresses.

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(a) Landlord Notice Addresses. Any notices to Landlord shall be effective when
served to Landlord in accordance with the terms of the Lease at the following

addresses:
Landlord: With copies to:
BRE River North Point Owner LLC BRE River North Point Owner LLC
c/o Equity Office c/o Equity Office
222 South Riverside Plaza 350 North Orleans Street
Suite 2000 Chicago, Illinois 60654
Chicago, Illinois 60606 Attention: Property Manager
Attention: Asset Manager
and
Equity Office

222 South Riverside Plaza, Suite 2000
Chicago, Illinois 60606
Attention: Managing Counsel

(b) Sublandlord Notice Addresses. Any notices to Sublandlord shall be effective
when served to Sublandlord in accordance with the terms of the Lease at the
following addresses:

Sublandlord: With a copy of any notices whereby
Landlord is notifying Sublandiord of a
Sublandlord default under the Lease, or
notifying Sublandlord of, or responding to
Sublandlord with respect to, any option
rights of Sublandlord under the Lease, or
providing any notices other than routine
notices concerning the operation of the

Building, to:
Rocket Fuel Inc. Rocket Fuel Inc.
1900 Seaport Boulevard 1900 Seaport Boulevard

Redwood City, California 94063 Redwood City, California 94063
Attention: CEO, Director of Real Attention: Office of the General Counsel
Estate & Facilities

(c) Subtenant Notice Addresses. Any notices to Subtenant shall be effective when
served to Sublandlord in accordance with the terms of the Lease at the following

addresses:

Subtenant: With a copy of any notices whereby Landlord is
notifying Subtenant of a Subtenant and/or
Sublandlord default under the Lease, or providing
any notices other than routine notices concerning
the operation of the Building, to:

Nitel, Inc. Nitel, Inc.

1101 W Lake Street 1101 W. Lake Street

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Chicago, Illinois 60607 Chicago, IIlinois 60607
Attention: Ron Grason Attention: General Counsel

13. Authority. Each of Landlord, Sublandlord and Subtenant represents hereby that its
signatory to this Consent Agreement has the authority to execute and deliver the same
on behalf of the party hereto for which such signatory is acting.

14. Counterparts. This Consent Agreement may be executed in counterparts and shall
constitute an agreement binding on all parties notwithstanding that all parties are not
signatories to the original or the same counterpart provided that all parties are furnished
a copy or copies thereof reflecting the signature of all parties. Transmission of a
facsimile or by email of a pdf copy of the signed counterpart of this Consent Agreement
shall be deemed the equivalent of the delivery of the original, and any party so delivering
a facsimile or pdf copy of the signed counterpart of this Consent Agreement by email
transmission shall in all events deliver to the other party an original signature promptly
upon request.

[SIGNATURES ARE ON THE FOLLOWING PAGE]

IN WITNESS WHEREOF, Landlord, Sublandlord and Subtenant have executed this
Consent Agreement under seal in two or more counterparts as of the date set forth above.

LANDLORD:

BRE RIVER NORTH POINT OWNER LLC, a Delaware

limited liability company
gv —_S
By: _ i

Name: (Oe 2 lod fay. LeS
Title: Uv O_ fsse/ Phan gaye}

SUBLANDLORD:
ROCKET FUEL INC., a Delaw: ¢ corporation
By: ZMK In rv)

“Name: <j oft VNC Orns Le TON

Title: (PNAYUGA  CONNSTLU

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SUBTENANT:

NITEL, INC., an Illinois corporation
By: Je Eee Nn

Name: PAUL ‘Russ

 

Tile GEPEKAL CovMSEL

 

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EXHIBIT A

SUBLEASE AGREEMENT

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